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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

                                              §
                                              §
  Charlene Carter,                            §   Civil Case No. 3:17-cv-02278-X
                                              §
                       Plaintiff,             §
                                              §
  v.                                          §
                                              §
  Southwest Airlines Co., and                 §
  Transport Workers Union of America,         §
  Local 556,                                  §
                                              §
                                              §
                       Defendants.            §

                                     _______________________________________________

  SOUTHWEST AIRLINES CO.’S PARTIAL OPPOSITION TO CHARLENE CARTER’S
                    MOTION FOR ATTORNEYS’ FEES




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 I.     INTRODUCTION

        While Southwest Airlines Co. (“Southwest”) does not dispute the entitlement of Plaintiff

 Charlene Carter (“Plaintiff” or “Carter”) to fees in connection with the contempt proceeding, the

 amount requested by Carter should be significantly reduced. Southwest previously agreed to pay

 Plaintiff’s reasonable attorney’s fees in connection with her contempt motion. Doc. No. 419.

 However, Southwest respectfully submits that Carter fee request is, in substantial part, excessive

 rather than reasonable.

        Plaintiff initiated contempt proceedings in this action based on the wording of Southwest’s

 December 20, 2022 Email Notice and In Flight On the Go (“IOTG”) memorandum (collectively,

 “Notices”). In connection with these proceedings, the Court held approximately 9 hours of hearing

 (approximately 3 hours of which occurred ex parte without Plaintiff’s participation) during which

 Mr. Pryor examined four members of Southwest’s legal team, Mr. Gilliam made a closing argument,

 and Mr. Hill displayed exhibits. Doc. Nos. 434, 464. On August 7, 2023, this Court ordered

 Southwest to pay Plaintiff’s reasonable attorneys’ fees. Now, Plaintiff seeks a fee award for nearly

 500 hours of attorney time totaling approximately $180,000. Plaintiff’s requested fee award is

 excessive and unreasonable.

        First, a large portion of the time entries for which Plaintiff seeks fees are block billed,

 rendering it impossible for Southwest or the Court to assess the amount of time spent on particular

 tasks (on a single day and/or during the totality of the contempt proceedings). This Court previously

 reduced a fee request from Plaintiff by 30% for this reason and it should do the same here.

        Second, Plaintiff filed numerous unnecessary and/or only minimally successful motions and

 other submissions in of the course of these contempt proceedings. Not only did these filings do little

 to assist the Court in resolving the question of contempt, but the time counsel spent preparing these

 submissions was excessive. Indeed, As set forth more detail below, counsel spent unreasonable


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 amounts of time in connection with nearly every significant aspect of these contempt proceedings

 and should not be compensated for having done so. Counsels’ submissions in the contempt

 proceedings, even when partially successful, did nothing to advance Plaintiff’s interest in this case.

         Finally, Carter devoted significant time to arguments and issues that the Court ultimately

 declined to accept. Among other things, Plaintiff repeatedly advanced the argument that the Court

 could and should hold Southwest and its attorneys in criminal contempt even absent the due process

 protections that are attendant to such proceedings. Similarly, Plaintiff repeatedly accused

 Southwest’s attorneys of engaging in some unspecified form of criminality and/or fraud and on that

 basis argued that it waived the attorney-client privilege. Despite Plaintiff’s repeated and laborious

 efforts to advance these arguments, the Court properly rejected them. Thus, the Court should

 substantially reduce any fee award based on these and other arguments Carter unsuccessfully

 advanced.

 II.     ARGUMENT

         “The first task in calculating attorney’s fees is determining the reasonable number of hours

 expended[.]” 1 Millennium Rests. Grp., Inc. v. City of Dall., 2002 U.S. Dist. LEXIS 7998, *7 (N.D.

 Tex. May 1, 2002). “The fee applicant bears the burden of proving that the number of hours ... for

 which compensation is requested is reasonable.” Riley v. City of Jackson, 99 F.3d 757, 760 (5th

 Cir. 1996).

         In determining the reasonable number of hours expended, “excessive, duplicative, or

 inadequately documented work must be excluded.” McClain v. Lufkin Indus., 649 F.3d 374, 381

 (5th Cir. 2011); see also Portillo v. Cunningham, 872 F.3d 728, 741 (5th Cir. 2017). Moreover,

 courts may adjust a fee awarded based on numerous factors, including the moving party’s degree


 1
   Because this Court previously approved counsels’ hourly rates in this action, Southwest does not contest
 them here.


                                                     2
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 of success, failure to exercise billing judgment; and/or vague or otherwise inadequate

 documentation of worked performed (e.g., ambiguous time entries, block billing, etc.). See, e.g.,

 United States ex rel. Cook-Reska v. Cmty. Health Sys., 641 Fed. Appx. 396, 399 n.7 (5th Cir.

 2016); Agredano v. State Farm Lloyds, 2021 U.S. Dist. LEXIS 176702, *7 (W.D. Tex. Sep. 16,

 2021). Finally, courts decline to award fees for time spent preparing unsuccessful or unnecessary

 pleadings, motions, discovery requests, and other court filings. Agredano, 2021 U.S. Dist. LEXIS

 176702, *7; Valdepena v. Nuestro Sagardo Corazon Primary Home CARE Inc., 2022 U.S. Dist.

 LEXIS 192863, *14 (S.D. Tex. Sep. 15, 2022) (courts will “deduct time spent on unsuccessful,

 unfounded, or unnecessary pleadings, motions, discovery requests, and memoranda.”). As set forth

 herein, the Court should only award Plaintiff a substantially reduced fee due to counsels’ block

 billing, duplicative work, excessive time spent on various (and often unnecessary) tasks and

 advancing of unmeritorious arguments. 2

        A.      The Court Should Reduce All of Counsels’ Block Billed Entries By 30%

        “Courts disfavor the practice of block billing because it impairs the required reasonableness

 evaluation.” United States ex rel. Cook-Reska v. Cmty. Health Sys., 641 Fed. Appx. 396, 399 n.7

 (5th Cir. 2016). When time is block billed, the court cannot accurately determine the number of

 hours spent on any particular task, and the court is thus hindered in determining whether the hours

 billed are reasonable. Barrow v. Greenville Indep. Sch. Dist., 2005 U.S. Dist. LEXIS 34557, *11–

 12 (N.D. Tex. Dec. 20, 2005).

        Mr. Hill and Mr. Pryor request $56,628 in attorneys’ fees for 131.7 hours of work.

 However, a large portion of their time is block billed, making it impossible to assess how much

 time counsel spent on each specified task, and whether that time was reasonable. See, e.g., App.


 2
   Southwest includes a summary of the time entries that it asks the Court to reduce or eliminate in the
 attached spreadsheets along with a suggested reduction in the requested fee. SWA App. Exhs. 1-7.


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 48-51 (12/20/23, 5/14/23, 5/16/23, 5/18/23, 7/14/23, and 8/7/23 Pryor time entries; 12/20/23,

 12/28/23, 12/29/23, 12/30/23, 5/16/23, 5/17/23, 5/18/23, 5/19/23, 5/22/23, and 8/15/23 Hill time

 entries). For example, Mr. Pryor’s and Mr. Hill’s records include entries such as:

        •   Review SW brief re Court order; review file re the same; review authorities re the same;
            review Court’s order to determine propriety of response; emails and confs re SW brief;
            emails and teleconfs w/M. Gilliam re status, strategy, show cause hearing and
            responding to SW brief; drafting comments for motion for leave to file response to SW
            brief re Court order; draft comments for substantive response to SW brief re Court
            order; review file re the same; teleconfs w/M. Gilliam re the same; additional review
            and revision of motion for leave; emails re the same. App. 49 (5/14/23 Pryor time
            entry).

        •   Review and comment on proposed email to P. McKeeby and A. Ryan re subpoenas for
            show cause hearing; confs. w/ M. Gilliam re witness issues; email M. Gilliam re witness
            issues; review and comment on proposed email to union re witness issues; email M.
            Gilliam re process server timing; review and sign subpoenas; email M. Gilliam update
            re service of subpoenas; email M. Gilliam re service of B. Morris timing; email M.
            Gilliam re proposed email to union; conf. w/ B. Pryor and M. Gilliam re court’s order
            re religious liberty training; email process server re cancellation of service. App. 49
            (5/16/23 Hill time entry).

        •   Review communications produced by union; conf. w/ M. Gilliam re same; email B.
            Pryor re same; email documents to paralegal for inclusion in hearing notebook; review
            cases re Southwest’s argument on ultimate employment actions; conf. w/ M. Gilliam
            re arguments responding to Southwest’s brief; review and comment on brief re
            religious liberty training; confs. w/ M. Gilliam re brief; prepare presentation of
            documents to be used at hearing. App. 50 (5/22/23 Hill time entry).

        Mr. Pryor and Mr. Hill request at least $29,776.50 for 64.7 hours (42.2 for Pryor, 22.5 for

 Hill) of attorney time associated with block billed entries. Due to counsels’ disfavored billing

 practice, Southwest cannot determine the time spent on each of the specified task or assess whether

 that time (in connection with the specific entry or as a whole) is reasonable.

        It is these sorts of entries that caused the Court to “reduce the dollar amount of Carter’s

 block billed fees by 30%” in connection with a prior fee motion. Doc. No. 373, p. 4. The Court

 should do the same here and reduce the number of hours for all block billed entries by at least




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 30%. See generally Hoffman v. L&M Arts, 2015 U.S. Dist. LEXIS 85882, *27 (N.D. Tex. July 1,

 2015) (reducing hours by 30% to “account for block billing”).

        B.      The Time Plaintiff’s Three Attorney Spent Preparing for and Attending the
                Contempt Hearing Was Excessive and Duplicative

        Plaintiff seeks attorneys’ fees for 144.4 hours of attorney time spent preparing for and

 attending nine hours of contempt hearings. The Court should substantially reduce these hours

 because three experienced attorneys preparing for and attending the hearing was excessive and

 duplicative.

        In calculating a fee award, the courts exclude work that excessive or duplicative. Combs v.

 City of Huntington¸ 829 F.3d 388, 392 (5th Cir. 2016). “Hours which, though actually expended,

 nevertheless ... result from the case being ‘overstaffed,’ are not hours ‘reasonably expended.’”

 Leroy v. Houston, 906 F.2d 1068, 1079 (5th Cir. 1990) (citing Hensley v. Eckerhart, 461 U.S. 424,

 434 (1983). “If more than one attorney is involved, the possibility of duplication of effort along

 with the proper utilization of time should be scrutinized.” Wherley v. Schellsmidt, 2014 U.S. Dist.

 LEXIS 96763, *9 (N.D. Tex. July 16, 2014) (quoting Johnson v. Georgia Highway Express, Inc.,

 488 F.2d 714, 717 (5th Cir. 1974)). “This court has disallowed on this basis time expended

 by multiple attorneys who attended trial unnecessarily.” Id. (disallowing fees for second attorney

 who attended 3 ½ day trial because services were duplicative). Awarding fees for multiple

 attorneys to participate in trial or other proceedings is particularly inappropriate when one of the

 appearing attorneys has significant experience. See id. at *10 (in refusing to award fees for second

 attorney to participate in trial, emphasizing that counsel had 15 years of experience).

        Here, each of Carter’s three attorneys who attended the contempt hearing has more than a

 decade of experience and was fully capable of handling the proceeding independently.

 Nevertheless, Plaintiff seeks fees for the time all three of her attorneys spent preparing for and



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  attending the hearing even though two of them (Mr. Gilliam and Mr. Hill) played minimal roles in

  the proceedings. Mr. Pryor handled all of the witness examinations. In contrast, Mr. Hill’s role

  was limited to displaying exhibits from his computer, a task that a non-lawyer could have handled;

  and Mr. Gilliam’s role was to make a brief closing argument at the conclusion of the contempt

  hearing. Despite Mr. Hill’s and Mr. Gilliam’s limited roles, they recorded 30.8 hours and 72.2

  hours, respectively, preparing for and attending the contempt 9 hour contempt hearing, 3

         Given the limited number of witnesses Plaintiff called (4), the short duration of the hearing,

  and the minimal roles of Mr. Hill and Mr. Gilliam, the work they performed preparing for and

  appearing at the hearing was unreasonable and duplicative. Considering this, the Court should

  reduce Mr. Gilliam’s and Mr. Hill’s preparation and hearing attendance time by 50%.

         C.      The Court Should Substantially Reduce the Fee Because Counsel Devoted
                 Excessive Time to Multiple Unnecessary and Minimally Successful
                 Submissions In Connection With the Contempt Proceedings

         In the lead up to the contempt hearing, Plaintiff’s counsel expended significant time filing

  a slew of motions, reply briefs, and other submissions. As set forth below, Plaintiff only achieved

  minimal success in connection with the various pre-hearing filings, and the time counsel devoted

  to them was excessive

         Motion to Compel Disclosure and Request for In Camera Review (Doc. No. 411) – On

  April 10, 2023, the Court ordered Southwest to, among other things, produce to Plaintiff non-

  privileged communications regarding the Notices and drafts of the Notices. Doc. No. 407 at 2. The

  Court directed Southwest to include all withheld privileged documents on a privilege log.

         Southwest produced documents and a privilege log to Carter on April 28, 2023. Doc. No.

  410. Strangely, Mr. Gilliam claims to have spent 5.1 hours researching for and preparing a motion


  3
   Notably, all three of Carter’s attorneys were excused from the courtroom for approximately 1/3 of the
  hearing during the ex parte session.


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  to compel Southwest to produce documents it identified as privileged on April 26-27, 2023, two

  days before Southwest’s production. App. 12 (4/26/23 and 4/27/23 Gilliam time entries). That is

  not all. Southwest produced documents and its privilege log at 5:24 p.m. EST (Mr. Gilliam works

  in Washington, D.C.). However, Mr. Gilliam claims that he spent 7.8 hours that day analyzing

  Southwest’s production and privilege log and researching and drafting a motion to compel

  production. Even assuming Mr. Gilliam began work immediately upon receipt of Southwest’s

  production and worked through midnight, there was not enough time in the day to do 7.8 hours of

  work. App. 12 (4/28/23 Gilliam time entry). At best, Mr. Gilliam’s entries from April 26 – April

  28 demonstrate that he decided to move to compel and to contest Southwest’s privilege assertions

  prior to even viewing the production and privilege log. Moreover, Mr. Gilliam’s pre-production

  entries call into question the good faith nature of counsels’ post-production meet and confer efforts

  (for they seeks fees). App 13 (5/1/23, 5/2/23, and 5/3/23 Gilliam time entries); App. 48 (5/2/23

  Hill time entry). This may explain why despite Southwest’s efforts to addresses Plaintiff’s

  concerns regarding the production, Plaintiff filed a motion to compel on May 5, 2023.

         Carter devoted nearly half of her motion to compel to accusing Southwest and its counsel

  of engaging in unspecified criminality and fraud in support of the contention that the crime fraud

  exception applied and thus Southwest waived the attorney-client privilege. Doc. No. 411, pp. 7,

  14-21. Carter went on to urge that the defective Notices warranted the imposition of criminal

  contempt sanctions even though none of the procedures up until that point were consistent with

  the requirements for criminal contempt. See Lamar Fin. Corp. v. Adams, 918 F.2d 564, 566 (5th

  Cir. 1990) (in order to impose criminal contempt, “the contemnor must be given notice that the

  proceedings are of a criminal nature” and “[t]ypically this notice must be explicit.”); Spriggs v.

  Thomas, 2021 U.S. Dist. LEXIS 128864, *10 (N.D. Tex. June 22, 2021) (criminal contempt must




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  be accompanied by “full criminal process, including the right to adequate notice; the right to a

  public trial; the right to a jury trial in cases where punishment exceeds six months in jail or other

  ‘serious’ criminal consequences; the privilege against self-incrimination; the presumption of

  innocence; and proof of guilt beyond a reasonable doubt.”) (internal citations omitted)).

  Alternatively, Carter requested at the Court compel Southwest to submit documents on its privilege

  to the Court for in camera review to assess the applicability of privilege. Doc. No. 411, pp. 5-7,

  14, 17-22.

         In response, Southwest agreed to submit the documents identified on its privilege log “for

  in camera inspection by the Court to ascertain the application of the privilege.” Doc. No. 414, p.

  2. The Court ordered Southwest to produce the documents for inspection the following day. Doc.

  No. 415.

         Southwest submitted 105 pages of communications for the Court’s in camera review that

  Plaintiff claimed were not privileged and/or reflected efforts to facilitate criminal conduct. The

  Court found that only six pages of the 105 Southwest submitted contained some content that was

  not subject to privilege and ordered them produced. Doc. No. 422. These documents and Plaintiff’s

  laborious efforts to secure their production was ultimately pointless, as Plaintiffs did not utilize

  any of these materials at the contempt hearing.

         Plaintiff’s counsel spent approximately 85 hours in connection with the motion compel that

  resulted in the production of 6 inconsequential emails. Specifically, Mr. Gilliam, Mr. Hill, and Mr.

  Pryor spent 75.2 hours, 8.5 hours, and 1.8 hours, respectively on the motion to compel; and Gilliam

  spent another 2.8 hours purporting to engage in good faith meet and confer efforts with Southwest

  regarding its production and the motion. App. 13 (5/1/23, 5/2/23, and 5/3/23 Gilliam time entries);

  App. 48 (5/2/23 Hill time entry); SWA App. 002. This expenditure of time was excessive,




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  particularly given the minimal relief obtained, and because Plaintiff devoted nearly half of her

  submission to arguments that were without merit and that the Court declined to adopt (i.e.,

  availability of criminal sanctions; crime-fraud exception). See, e.g., United Healthcare Servs. v.

  Next Health, 2021 U.S. Dist. LEXIS 197668, *14-15 (N.D. Tex. Sep. 15, 2021) (40% reduction

  based on excessive time spent on motion); Hagan v. Mrs Assocs., 2001 U.S. Dist. LEXIS 6789,

  *27-31 (E.D. La. May 15, 2001) (62.75 hours spent on discovery motion was excessive and

  awarding fees for only 25 hours); Fathergill v. Rouleau, 2003 U.S. Dist. LEXIS 18310, *23 (N.D.

  Tex. Oct. 14, 2003) (66% reduction because time spent in connection with motion was excessive).

  Even if counsel spent 85 hours in connection with the motion to compel, the minimal relief Plaintiff

  obtained and the irrelevance of the additional documents produced makes awarding fees for such

  a large block of time unwarranted. See Ultimate Living Int’l, Inc. v. Miracle Greens Supplements,

  Inc., 2008 U.S. Dist. LEXIS 68680, *19 (N.D. Tex. Aug. 29, 2008) (Courts consider “whether

  counsels’ expenditure of time was justified in light of the relief obtained, and the relationship

  between the relief sought and the relief obtained.”). (emphasis added)

         In light of the above, the Court should deduct 70% from the time Plaintiff’s counsel spent

  on and in connection with the motion to compel.

         Unopposed Motion for Leave to File a Brief in Response to Southwest’s May 12, 2023

  Brief (Doc. No. 420) – On May 15, 2023, Carter filed a three-page unopposed motion to respond

  to Southwest’s May 12, 2023 filing offering to issue a revised notice and pay certain reasonable

  attorneys’ fees. Doc. No. 420. The time entries make clear that counsel spent at least 16.5 hours

  preparing this three-page, unopposed submission. Specifically:

         •   Gilliam spent 13.4 hours on the unopposed motion. App. 14 (5/14/23 and 5/15/23
             Gilliam time entries)




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         •   Pryor spent at least 2.4 hours on the unopposed motion. App. 49 (5/15/23 Pryor time
             entry). Pryor’s time entries reflect that he devoted some other unspecified amount of
             time to the unopposed submission. However, due to Pryor’s block billing and vague
             entries, it is not possible to determine the amount of time spent. See App. 49 (5/14/23
             Pyror 7.2 hour time entry for, among numerous other tasks, “teleconfs w/M. Gilliam
             re: ... responding to SW [May 12] brief”; “drafting comments for motion for leave to
             file response to SW brief re: Court order”; “draft comments for substantive response to
             SW brief re Court order”; “review file re the same”; “additional review and revision of
             motion for leave”; and “emails re: the same”).

         •   Hill spent .7 hours on the unopposed three-page submission. App. 49 (5/14/23 and
             5/15/23 Hill time entries).

  Southwest submits that Plaintiff’s unopposed submission should have taken no more than 4 total

  hours and did not necessitate the involvement of three experienced attorneys. Thus, the Court

  should reduce these entries by approximately 75%.

         Brief in Response to Southwest’s May 12, 2023 Brief (Doc. No. 428) – On May 19, 2023,

  Carter filed a 9.5 page response to Southwest’s May 12, 2023 brief. Plaintiff’s counsel devoted

  approximately 27.7 hours to this brief. Specifically:

         •   Gilliam devoted 22.7 hours to the preparation of this brief. App. 14-15 (5/15/23,
             5/16/23, 5/18/23, and 5/19/23 Gilliam time entries).

         •   Hill and Pryor devoted 2.1 and 2.8 hours to the brief, respectively. App. 49 (5/15/23
             and 5/19/23 Hill time entries; 5/15/23 and 5/19/23 Pryor time entries).

         Approximately half of Plaintiff’s brief consisted of objecting to ex parte questioning

  regarding privileged matters at the contempt hearing (Doc. No. 428, p. 4); requesting monetary

  sanctions and the imposition of “civil and punitive” fines on Southwest’s counsel to “penalize

  them for their violations” (i.e., impose criminal contempt sanctions) (Doc. No. 428, p. 6); and

  arguing for the imposition of criminal contempt sanctions, including a “high six figure” penalty

  (Doc. No. 428, pp. 7-10). Carter did not prevail on any of these arguments. The Court did not

  impose monetary penalties or other criminal contempt sanctions, and it took testimony regarding

  privileged matters ex parte.


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         Given that Carter devoted half of her submission to matters on which she did not prevail,

  the Court should reduce the hours by 50% to account for her limited success. See Mediq PRN Life

  Support Servs. v. Univ. Rehab. Hosp., 2003 U.S. Dist. LEXIS 15423, *13 (E.D. La. Aug. 20, 2003)

  (imposing a “50% reduction” to “reflect[] the defendants’ degree of success on the Motion to

  Compel” and further 33% reduction for excessive, redundant, and unproductive hours); Dall.

  Indep. Sch. Dist. v. Woody, 2018 U.S. Dist. LEXIS 203682, *35-36 (N.D. Tex. Nov. 30, 2018)

  (“impos[ing] a 55 percent reduction (50 percent for degree of success and 5 percent for imperfect

  billing judgment).”).

         Reply In Support of Plaintiff’s Motion to Find Southwest in Contempt (Doc. No. 399) –

  On January 11, 2023, Plaintiff filed a 10-page reply brief supporting her motion to find Southwest

  in contempt. Plaintiff’s reply brief recited the many of the arguments in her opening motion (see

  doc. no. 399, pp. 2-5, 9) and otherwise addressed Southwest’s First Amendment arguments.

  Plaintiff’s counsel spent 42.8 hours preparing this 10-page reply brief as follows:

         •   Hill and Pryor devoted .7 and .5 hours to the reply brief, respectively. App. 48 (1/6/23
             and 1/9/23 Pryor time entry; 1/11/23 Hill time entry).

         •   Gilliam devoted 41.2 hours to the 10-page reply brief. App. 9 (1/7/23, 1/8/23, 1/10/23,
             and 1/11/23 Gilliam time entries).

  Spending 42.8 hours on a 10-page reply brief is clearly excessive, particularly given that much of

  it recited arguments that that Plaintiff made in her opening motion. Notably, Plaintiff’s counsel

  devoted significantly more time to this 10-page reply brief than it did on Carter’s opening 23-page

  motion. See App. 7-8 (12/21/23, 12/26/23, 12/27/23, 12/28/23, 12/29/23, and 12/30/23 Gilliam

  time entries); App. 48 (12/27/23, 12/28/23, 12/29/23, and 12/30/23 Hill and Pryor time entries).

         Given the excess time counsel spent preparing the reply brief, Southwest requests that the

  Court reduce the hours for this reply by 50%.




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         Preparation and efforts to serve subpoenas; Motion to Compel Production of Witnesses

  for Show Cause Hearing (Doc. No. 416) – Pursuant to this Court’s order, Southwest identified 12

  individuals involved in preparing the Notices. Doc. No. 410. This included Mr. McKeeby, Mr.,

  Morris, three members of Southwest’s in-house legal department, and seven other Southwest

  employees. Id. Thereafter, Plaintiff’s counsel insisted that all 12 of these individuals appear at the

  contempt hearing and began attempting to serve them with subpoenas. Plaintiff pursued these

  efforts despite the representation that Southwest’s counsel would appear at the contempt hearing.

         After being unable to effectuate service, Plaintiff filed a 3.5 page motion asking the Court

  to order Southwest to produce each of 11 individuals 4 at the contempt hearing. Doc. No. 416.

  According to Plaintiff, it was not enough that she be able to question Southwest’s counsel

  regarding the Notices and its communications regarding the same. Rather, Plaintiff asserted she

  needed to examine 8 additional witnesses about the Notices and any potential oral communications

  regarding their issuance. Doc. No. 416, 3. Southwest opposed Plaintiff’s motion arguing, among

  other things, that whether it complied with the Court’s order could be assessed based on the

  materials in the record. Thus, it was entirely unnecessary for Plaintiff to call a dozen witnesses –

  many of whom had perfunctory involvement in preparing or issuing the Notices – to testify.

  Moreover, any testimony the witnesses could offer would involve privileged matters about which

  they could not be questioned in open court. Doc. No. 425. Nevertheless, Southwest agreed that

  Mr. Morris, Mr. Maberry, Ms. Forbes, and Mr. Minchey would appear at the hearing. Doc. No.

  425, p. 6.

          On May 18, 2023, the Court ordered Southwest to produce four employees – three

  members of its in-house legal team who had already agreed to appear, and Brandy King. Doc. No.


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    Plaintiff stated that she did not move to compel Mr. McKeeby’s attendance because he had already
  committed to appear.


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  427. Thus, by filing the motion to compel, Carter secured the attendance of only one witness (Ms.

  King) who had not already agreed to appear. The testimony and counsels’ conduct at the contempt

  hearing illustrate the unnecessary nature of Carter’s motion.

         Ms. King is the only individual who the Court compelled to attend the hearing who did not

  voluntarily agree to appear before the Court’s order. At the hearing, Ms. King testified that she

  never had any discussions regarding the content of the Court’s judgment, nor did she ever

  independently read it. Contempt Hearing Tr. 109:6-110:10. Moreover, despite insisting that the

  Court make Mr. Morris appear for live questioning, Plaintiff did nothing to obtain testimony from

  him even though he was voluntarily present throughout the contempt hearing. Thus, not only did

  Carter’s motion result in minimal relief, counsels’ conduct at the hearing suggest an understanding

  that the testimony she sought to procure was unnecessary all along.

         If there was any remaining doubt as to the needlessness of Carter’s demand that that the

  various witnesses appear, the Court’s contempt order removed it. In holding Southwest in

  contempt, the Court based its ruling not on the musings of counsel regarding the internal

  deliberations with respect to the Notices. Rather, the Court made its contempt order based on the

  written arguments and the content of the disputed Notices.

         All told, Plaintiff devoted approximately 9.8 hours to attempting to serve the subpoenas

  and 8.7 hours asking the Court to compel witness attendance. App. 13-14 (4/28/23, 5/1/23, 5/8/23,

  5/9/23, 5/10/23, and 5/16/23 Gilliam time entries); App. 49 (5/8/23, 5/9/23, 5/10/23, and 5/16/23

  Hill time entries; 5/9/23, 5/10/23, and 5/16/23 Pryor time entries). Given that the result of the

  motion was to secure the attendance of a single person (the others the Court ordered to appear

  already agreed to do so) who provided minimal relevant testimony, the time spent attempting to

  obtain the attendance of numerous witnesses was disproportionate the degree success resulting




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  from those efforts. Thus, Southwest requests that the Court deduct 75% of the time Plaintiff spent

  preparing and seeking to serve subpoenas, and 75% of the time Plaintiff spent preparing her motion

  to compel.

         D.       The Time Plaintiff Spent Preparing the Motion for Attorneys’ Fees Was
                  Excessive and Unreasonable

         Plaintiff seeks fees for 38.5 hours on her 10-page motion for attorney’s fees as follows:

         •     33.3 hours for Mr. Gilliam. App. 19-21 (8/7/23, 8/8/23, 8/9/23, 8/14/23, 8/15/23,
               8/16/23, 8/19/23, 8/20/23, and 8/21/23 Gilliam time entries).

         •     5.2 hours for Mr. Hill. App. 51 (8/9/23, 8/15/23, 8/17/23, and 8/18/23 Hill time entries).

  The time spent on this motion is excessive.

         “Fee applications do not typically involve novel or complex legal issues and the fees

  claimed for preparing them will be reduced if excessive.” Prater v. Commerce Equities Mgmt. Co.,

  2008 U.S. Dist. LEXIS 98795, *20 (S.D. Tex. Dec. 8, 2008). Moreover, this is the third fee motion

  Plaintiff has filed in this action. See Doc. Nos. 368-369, 376-377, 475-476. At this juncture,

  Plaintiff should be well acquainted with the relevant case law and be readily capable of efficiently

  preparing a fee motion. Moreover, the instant motion only covers worked performed over a

  relatively short period of time and thus preparing it should have been minimally burdensome.

         Given the straightforward nature of the fee motion and counsels’ recent experience

  preparing them in this case, spending nearly 38.5 hours preparing this one is excessive and

  unreasonable. See, e.g., Lewallen v. City of Beaumont, 2009 U.S. Dist. LEXIS 62503, *23-25 (E.D.

  Tex. July 20, 2009) (even where a fee motion covered “work performed over several years” the

  court awarded only 20 hours for the fee motion where counsel claimed 81.55 hours). Southwest

  requests that the Court apply a 50% reduction to time counsel spent preparing the pending fee

  motion.




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  III.     CONCLUSION

           Counsels’ time records reflect significant block billing and a failure to exercise billing

  judgment. Additionally, hours Plaintiff’s counsel spent preparing various submissions in

  connection with the contempt proceedings are demonstrably excessive and unreasonable. Thus,

  Southwest requests the following hours and fee reductions for unnecessary and minimally

  successful submissions, block billing, and duplicative work related to hearing preparation and

  attendance:

   Tasks / Reasons for Which Reduction Is           Requested Southwest      Proposed Fee
   Sought                                           Hours     Proposed Hours Reduction
   Reply In Support of Plaintiff’s Motion to        42.8      21.4           $7,571.00
   Find Southwest in Contempt (Doc. No. 399)
   Motion to Compel Disclosure and Request          85.5          25.65              $20,710.55
   for In Camera Review (Doc. No. 411)

   Preparation and efforts to serve subpoenas;      26.1          6.525              $7,266.00
   Motion to Compel Production of Witnesses
   for Show Cause Hearing (Doc. No. 416)

   Unopposed Motion for Leave to File a Brief       16.5          4.125              4,615.88
   in Response to Southwest's May 12, 2023
   Brief (Doc. No. 420)

   Brief in Response to Southwest’s May 12,         27.7          13.85              $5,100.00
   2023 Brief (Doc. No. 428)

   Hearing Preparation and Attendance for 3         144.4         72.2               $29,304.50
   Attorneys

   Motion for Attorney’s Fees (Doc. No. 475)        38.5          19.25              $6,854.50

   Block Billing                                    64.7          45.3               $8,932.95

   Total                                            437.4         208.3              $90,355.38

           Based on the above, the reasonable attorneys’ fees are no more than $83,007.62 ($173,363 -

  $90,355.38)


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  Dated: September 11, 2023                   Respectfully submitted,

                                              /s/ Paulo B. McKeeby
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                                              ATTORNEYS FOR DEFENDANT
                                              SOUTHWEST AIRLINES CO.


                                     CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document has been

  filed via the Court’s ECF system and all counsel of record have been served on this 11th day of

  September, 2023.

                                              /s/ Paulo B. McKeeby




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